       Case 1:21-cr-00582-CRC Document 59-2 Filed 04/04/22 Page 1 of 3




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA



 UNITED STATES OF AMERICA

       v.                                       Case No. 1:21-cr-00582
 MICHAEL A. SUSSMANN,

              Defendant.


   [PROPOSED] ORDER GRANTING DEFENDANT’S MOTION TO DISMISS THIS
     CASE IF THE SPECIAL COUNSEL DOES NOT IMMUNIZE RODNEY JOFFE

      UPON CONSIDERATION of Defendant’s Motion to Dismiss this Case if the Special

Counsel Does Not Immunize Rodney Joffe, it is hereby ORDERED that Defendant’s Motion to

Dismiss this Case if the Special Counsel Does Not Immunize Rodney Joffe is GRANTED.



IT IS SO ORDERED.

Dated: ________________, 2022

                                               Hon. Christopher R. Cooper
                                               United States District Judge
        Case 1:21-cr-00582-CRC Document 59-2 Filed 04/04/22 Page 2 of 3




       Pursuant to LCrR 47(h), the following is a list of the names and addresses of all attorneys

to be notified of entry of the Proposed Order.

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                                                 2
       Case 1:21-cr-00582-CRC Document 59-2 Filed 04/04/22 Page 3 of 3




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